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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re:
Westborough SPE LLC Chapter 7

23-40709-CJP

Debtor

ORDER

MATTER:
#368 Motion filed by Creditor Lolonyon Akouete To Order Trustee to Evaluate Current Offers for the
Property at 231 Turnpike Road And Expedite Decision-Making Process.

DENIED. THE TRUSTEE HAS FILED MOTION FOR APPROVAL OF A SETTLEMENT OF
CLAIMS THAT WOULD INCLUDE CLAIMS TO AVOID THE TRANSFER OF PROPERTY BY
TAX FORECLOSURE TO THE TOWN OF WESTBOROUGH. THE TRUSTEE HAS THE
BURDEN OF PROOF WITH RESPECT TO APPROVAL OF THAT COMPROMISE. THE
TRUSTEE HAS REPRESENTED IN RECENT PLEADINGS THAT HE HAS RECEIVED
INFORMATION OF AN INCREASED VALUE FOR THAT PROPERTY AND THAT HE IS
ASSESSING THAT AND OBTAINING AN APPRAISAL. MOVANT HAS STATED THAT HE
HAS FORWARDED "TWO FORMAL OFFERS" TO THE TRUSTEE FOR HIS REVIEW. IT IS
UNCLEAR WHAT RELIEF THE MOVANT SEEKS. IT APPEARS THAT MOVANT ONCE
AGAIN SEEKS TO PROMOTE AN INTERIM DISTRIBUTION WHERE THAT HAS BEEN
DENIED BY PRIOR ORDERS OF THE COURT. IT ALSO APPEARS THAT MOVANT IGNORES
THE FACT THAT RECORD TITLE TO THE SUBJECT PROPERTY WAS NOT IN THE
DEBTOR'S NAME AS OF THE PETITION DATE AND THAT THE TRUSTEE WILL BE
REQUIRED TO LITIGATE TO RECOVER THE PROPERTY BEFORE THE ESTATE COULD
SEEK TO "ACT" ON ANY OFFER.

Dated: 10/02/2024 By the Court,

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Christopher J. Panos
United States Bankruptcy Judge

